            Case 1:21-cv-00884-EGS Document 26 Filed 08/26/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY,                       )
                                                       )
                       Plaintiff,                      )   Case No. 1:21-cv-884-EGS
                                                       )
       v.                                              )   NOTICE OF PROPOSED RULE
                                                       )   FOR THREE SPECIES
U.S. FISH AND WILDLIFE SERVICE, et al.,                )
                                                       )
                       Defendants.                     )
                                                       )

       Defendants the U.S. Fish and Wildlife Service (“FWS”); Martha Williams, in her official

capacity as Acting Director of FWS; and Debra Haaland, in her official capacity as Secretary of

the Department of the Interior, hereby notify the Court that, as of August 26, 2021, the FWS has

issued a proposed listing rule for three of the ten species at issue in this case: the Texas

pimpleback (Cyclonaias (=Quadrula) petrina), Texas fawnsfoot (Truncilla macrodon), and

Texas fatmucket (Lampsilis bracteata). The proposed rule is publicly available in the Federal

Register at 86 Fed. Reg. 47,916.

Dated: August 26, 2021                          Respectfully submitted,

                                                TODD KIM, Assistant Attorney General
                                                SETH M. BARSKY, Section Chief
                                                MEREDITH L. FLAX, Assistant Section Chief

                                                /s/ Taylor A. Mayhall
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